     Case 1:14-cv-03030-RWS Document 65-1 Filed 06/03/15 Page 1 of 4
  STANDARDIZED FUND ACCOUNTING REPORT for Estate of ZhunrizeReceivers Account - Cash Basis
                   Receivership; Civil Court Docket No. 1:14-CV-3030-RWS
                         Reporting Period 12/19/2014 to 03/31/2015



FUND ACCOUNTING (See Instructions):
                                                                         Detail         Subtotal      Grand Total
Line 1        Beginning Balance (As of 12/19/2014):                               -
              Increases in Fund Balance:
Line 2        Business Income                                                   -
Line 3        Cash and Securities                                     45,695,546.95
Line 4        Interest/Dividend Income                                          -
Line 5        Business Asset Liquidation                                        -
Line 6        Personal Asset Liquidation                                        -
Line 7        Third-Party Litigation Income                                     -
Line 8        Miscellaneous - Other                                             -
                Total Funds Available (Lines 1 – 8):                                  45,695,546.95   45,695,546.95
              Decreases in Fund Balance:
Line 9        Disbursements to Investors                                          -             -
Line 10       Disbursements for Receivership Operations
   Line 10a   Disbursements to Receiver or Other Professionals
   Line 10b   Business Asset Expenses
   Line 10c   Personal Asset Expenses                                             -
   Line 10d   Investment Expenses                                                 -
   Line 10e   Third-Party Litigation Expenses
                  1. Attorney Fees                                                -
                  2. Litigation Expenses                                          -
                Total Third-Party Litigation Expenses                             -
   Line 10f Tax Administrator Fees and Bonds                                      -
   Line 10g Federal and State Tax Payments                                        -
             Total Disbursements for Receivership Operations                                    -
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
               1. Fees:
                    Fund Administrator…………………...………………..                       -
                    Independent Distribution Consultant (IDC)………………      10,000.00
                    Distribution Agent…………………...……………....…                     -
                    Consultants…………………………....……………….                     12,389.86
                    Legal Advisers……………………...…..………………                         -
                    Tax Advisers………………………..………….…………                           -
                 2. Administrative Expenses                                 429.50
                 3. Miscellaneous                                              -
                 Total Plan Development Expenses                                         22,819.36
   Line 11b      Distribution Plan Implementation Expenses:
                 1. Fees:
                    Fund Administrator…………………..…………..………                          -
                    IDC……………………………………...…......…………                               -
                    Distribution Agent……………………..….……………..                         -
                    Consultants………………………………....……………                              -
                    Legal Advisers………………………..……....…………                           -
                    Tax Advisers…………………….………….……………                               -
                 2. Administrative Expenses                                       -
                 3. Investor Identification:
                    Notice/Publishing Approved Plan……………...……..…                  -
                    Claimant Identification…………………….……...…….                      -
                    Claims Processing………………………….………..……                           -
                    Web Site Maintenance/Call Center……….……...……                   -
                4. Fund Administrator Bond                                        -
                5. Miscellaneous                                                  -
                6. Federal Account for Investor Restitution (FAIR)
                Reporting Expenses                                          -
                Total Plan Implementation Expenses                                             -
               Total Disbursements for Distribution Expenses Paid by the Fund            22,819.36
Line 12     Disbursements to Court/Other:
   Line 12a    Investment Expenses/Court Registry Investment
            System (CRIS) Fees                                                    -
   Line 12b    Federal Tax Payments                                               -
             Total Disbursements to Court/Other:                                               -
             Total Funds Disbursed (Lines 9 – 11):                                       22,819.36       22,819.36
Line 13       Ending Balance (As of 03/31/2015):                                                      45,672,727.59


                                                              1                                                       9/08/08
Case 1:14-cv-03030-RWS Document 65-1 Filed 06/03/15 Page 2 of 4
     Case 1:14-cv-03030-RWS Document 65-1 Filed 06/03/15 Page 3 of 4
   STANDARDIZED FUND ACCOUNTING REPORT for Estate of ZhunrizeReceivers Account - Cash Basis
                    Receivership; Civil Court Docket No. 1:14-CV-3030-RWS
                          Reporting Period 12/19/2014 to 03/31/2015




Detail Of Line 3 - Cash And Securities
    Date                Account             Reference               Source                   Purpose        Amount
 01/13/2015 Receiver Account, Wells Fargo   Deposit     Bank of China, Hong Kong        Recover Funds         9,965,255.24
 01/15/2015 Receiver Account, Wells Fargo   Deposit     Bank of America #6542           Recover Funds        17,979,681.14
 01/26/2015 Receiver Account, Wells Fargo   Deposit     Agricultural Bank China #6273   Recover Funds         2,408,462.02
 01/27/2015 Receiver Account, Wells Fargo   Deposit     Wells Fargo #3065               Recover Funds             4,593.61
 01/27/2015 Receiver Account, Wells Fargo   Deposit     Wells Fargo #0739               Recover Funds            15,024.24
 01/27/2015 Receiver Account, Wells Fargo   Deposit     Wells Fargo #0093               Recover Funds           181,788.59
 01/27/2015 Receiver Account, Wells Fargo   Deposit     Wells Fargo #9780               Recover Funds           171,269.69
 02/06/2015 Receiver Account, Wells Fargo   Deposit     EastWest Bank #2335             Recover Funds         4,820,111.06
 02/06/2015 Receiver Account, Wells Fargo   Deposit     EastWest Bank #1766             Recover Funds         4,584,160.28
 02/06/2015 Receiver Account, Wells Fargo   Deposit     Regions Bank #2487              Recover Funds         1,636,637.39
 02/06/2015 Receiver Account, Wells Fargo   Deposit     MetroCity Bank #3444            Recover Funds         3,514,995.00
 02/06/2015 Receiver Account, Wells Fargo   Deposit     EastWest Bank #3823             Recover Funds                 4.47
 02/06/2015 Receiver Account, Wells Fargo   Deposit     MetroCity Bank #6711            Recover Funds            18,616.83
 02/13/2015 Receiver Account, Wells Fargo   Deposit     E*Trade #381                    Recover Funds               532.29
 02/13/2015 Receiver Account, Wells Fargo   Deposit     BB&T #0442                      Recover Funds            48,869.29
 02/13/2015 Receiver Account, Wells Fargo   Deposit     TD Ameritrade#9231              Recover Funds           224,436.21
 02/26/2015 Receiver Account, Wells Fargo   Deposit     National Bank of CA #5196       Recover Funds           121,109.60
                                                                                                        $   45,695,546.95




                                                            3
     Case 1:14-cv-03030-RWS Document 65-1 Filed 06/03/15 Page 4 of 4
            STANDARDIZED FUND ACCOUNTING REPORT for Estate of ZhunrizeReceivers Account - Cash Basis
                             Receivership; Civil Court Docket No. 1:14-CV-3030-RWS
                                   Reporting Period 12/19/2014 to 03/31/2015




Detail Of Line 11a - Total Plan Development Expenses
    Date                  Account             Reference                Payee                                   Purpose                         Amount
   01/13/2015 Receiver Account, Wells Fargo               Wells Fargo                      Bank Wire Fees                                            16.00
   01/26/2015 Receiver Account, Wells Fargo               Wells Fargo                      Bank Wire Fees                                            16.00
   01/27/2015 Receiver Account, Wells Fargo               Wells Fargo                      Check Order                                               64.75
   02/03/2015 Receiver Account, Wells Fargo               Wells Fargo                      Check Order Refund                                       -64.75
   02/13/2015 Receiver Account, Wells Fargo               Wells Fargo                      Bank Wire Fees                                            15.00
   03/02/2015 Receiver Account, Wells Fargo    1002       IOI Interlogic Outsourcing Inc   Process 2014 1099 & W-2 Forms                            290.50
   03/02/2015 Receiver Account, Wells Fargo    1003       Bank of America                  Production Of Documents                                   92.00
   02/05/2015 Receiver Account, Wells Fargo    1001       BMC Group Inc                    Retainer for Claims Aministration and Website        10,000.00
   03/02/2015 Receiver Account, Wells Fargo    1004       Vodaware Inc                     Server Maintenance                                    12,389.86
                                                                                                                                           $    22,819.36




                                                                        4
